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               IN THE UNITED STATES DISTRICT COURT
          NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

                                         )      Case No. 1:20-cv-01853
BCBSM, INC., et al.,                     )
                                         )      Honorable Virginia M. Kendall
      Plaintiffs / Counter-Defendants,   )      Honorable Sheila M. Finnegan
                                         )
                       v.                )      Consolidated with:
                                         )      No. 1:20-cv-01929
WALGREEN CO., et al.,                    )      No. 1:20-cv-03332
                                         )      No. 1:20-cv-04738
      Defendants / Counterclaimant.      )      No. 1:20-cv-04940
                                         )      No. 1:22-cv-01362
                                         )


WALGREEN CO. & WALGREENS                 )
BOOTS ALLIANCE, INC.,                    )
                                         )
      Third-Party Plaintiffs,            )
                                         )
                       v.                )
                                         )
PRIME THERAPEUTICS LLC &                 )
OMEDARX, INC.,                           )
                                         )
      Third-Party Defendants.            )

                       MEMORANDUM IN SUPPORT OF
                     DEFENDANTS’ MOTION TO COMPEL
         PLAINTIFFS’ DOCUMENT DISCOVERY AND RELATED METRICS
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          After two years of discovery, the Plaintiffs (dozens of sophisticated insurers alleging a

fifteen-year fraud scheme) produced only 18,000, mostly unremarkable, documents. In meet-and-

confer discussions initiated by Defendants,1 Plaintiffs’ counsel claimed to be “just as surprised”

as anyone about the small number, but assured Walgreens that a robust, comprehensive, and

sophisticated search and review process had yielded the slim production. Plaintiffs declared their

production “substantially complete” on August 22, 2022. The reality was much different, however.

Walgreens recently discovered that, for reasons that remain opaque, Plaintiffs failed to produce

several obviously responsive, case-critical internal documents, even though the materials belong

to agreed-upon Plaintiff custodians and contain numerous agreed-upon search terms.

          Those case-critical documents cast doubt on Plaintiffs’ entire discovery efforts—and sent

Plaintiffs scrambling. Since November 4, Plaintiffs have produced 157,437 documents—

compared to the 18,000 documents Plaintiffs produced before declaring their production

substantially complete. As a result of Plaintiffs’ actions, 20 months into discovery, Walgreens is

essentially back at square one. And despite Plaintiffs’ recent frantic efforts, as demonstrated below,

Walgreens still has no reason to believe that Plaintiffs have met their basic discovery obligations.

This Motion seeks clarity and an assurance that Plaintiffs will conduct a proper review and produce

responsive documents in their possession, custody, or control.

          In just the past few weeks, Walgreens was able to uncover previously withheld, critical

defense documents only because a subset of these Plaintiff insurers, earlier this year and through

different counsel, produced ten times as much material in a closely related Usual & Customary

(“U&C”) pricing case. In that action, Blue Cross insurers are suing Walgreens’ primary

competitor, CVS. Naturally, Walgreens asked Plaintiffs for those productions early and often—


1
    Defendants are Walgreen Co. and Walgreens Boots Alliance, Inc. (together “Walgreens”).


                                                    1
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seeking fairness and symmetry, since Walgreens has always agreed to produce its documents from

two similar U&C cases, Russo v. Walgreen Co., No. 17-cv-2246 (N.D. Ill.), and Humana Health

Plan v. Walgreen Co., No. 01-19-0002-5131 (Am. Arb. Ass’n).

        Plaintiffs long ignored Walgreens’ requests, and later purported to impose significant

limitations. Rather than simply handing over their CVS productions (subject to the Agreed

Confidentiality Order), Plaintiffs reserved the right to pick and choose among custodians and

topics. Plaintiffs also claimed that their CVS productions focus on CVS and so (Plaintiffs said)

lack information relevant here—despite the CVS materials’ obvious bearing on Plaintiffs’ core

“industry standards” fraud theory. Plaintiffs even suggested that their other outside counsel might

have “data dumped” irrelevant materials on CVS, claiming that, in this case, Plaintiffs are taking

a more targeted approach yielding far more meaningful results without needless bulk. Plaintiffs’

equivocations about the CVS production continued.2

        Walgreens was steadfast, ultimately advising Plaintiffs that it intended to subpoena CVS

for the productions. Soon after, Plaintiffs finally turned over some of the CVS materials. What

Walgreens found was astonishing: Several of these same Plaintiffs had produced to CVS obviously

responsive, critical internal Blue Cross documents specifically discussing Walgreens’ U&C price

reporting and establishing that Plaintiffs have long been completely aware that Walgreens never



2
  Plaintiffs’ primary law firm in the CVS case is Stein Mitchell Beato & Missner LLP—which notably also
represents a group of newer plaintiffs in this case, the CareFirst insurers. Individual Stein Mitchell lawyers
who represent the Blue Cross plaintiffs suing CVS have also appeared in this matter and attended key
telepresence conferences addressing the subject matter of this Motion. In a cynical “whipsaw” approach,
counsel from Crowell & Moring LLP advised Walgreens that Crowell could not speak to what Plaintiffs
produced to CVS, while, in the same conference, Stein Mitchell lawyers likewise declined to address the
CVS production. Plaintiffs consistently pressed the fiction that their CVS productions are largely irrelevant
to discovery in this case—a fiction apparently calculated to support Plaintiffs’ highly curated and very
incomplete production. Regardless of which lawyers represent Plaintiffs in which litigation, and whether
one firm was more fulsome in its productions than the other, the Plaintiffs have obligations to the Court and
Walgreens. Plaintiffs’ enervating gamesmanship should end.


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reported pricing from its Prescription Savings Club (“PSC”) and similar programs as Walgreens’

U&C price. To be clear, these Plaintiffs gave to CVS critical documents about Walgreens that they

inexplicably withheld or, at best, carelessly failed to produce, here. The first tranche of CVS

documents debunked Plaintiffs’ baseless (and now abandoned) claim that materials from the CVS

case are irrelevant in this case. But for the CVS productions and Walgreens’ persistence, key

evidence would have remained buried.

        After several fruitless letter exchanges and lawyer conferences, Plaintiffs continue to

prevaricate. While Walgreens hoped to bring one consolidated motion to compel on multiple

disputed topics, a few of which remain in discussion between the parties, Walgreens cannot wait

on this Motion. The Court’s intervention is needed to ensure that Plaintiffs adequately search for

and produce responsive, relevant materials.

                                     FACTUAL BACKGROUND

        When a health insurer reimburses a pharmacy for a prescription, the insurer typically pays

no more than the pharmacy’s U&C price. See 2d Am. Compl., Dkt. 145 ¶ 68. This case involves a

claim by 28 Blue Cross insurers3 that Walgreens defrauded them into believing that Walgreens

was reporting as U&C the pricing available through its members-only PSC, when in fact it did not.

Plaintiffs make this claim even though they had full access to the U&C prices Walgreens reported

to Plaintiffs’ pharmacy benefit managers; that Walgreens’ PSC program and prices were widely

publicized; that other plaintiffs had been litigating related issues against Walgreens and other

pharmacies since at least 2011; and that it was common industry knowledge that pharmacies report


3
  The data presented in this Motion excludes documents and custodians produced by a twenty-ninth
plaintiff, BCBS of Nebraska, which voluntarily dismissed its claims. See Dkt. 292. In March 2022, seven
more Blue Cross insurers (the “CareFirst Plaintiffs”) filed a nearly identical complaint against Walgreens.
The CareFirst Plaintiffs’ case was consolidated with the other Plaintiffs’, see Dkt. 272, but discovery
between Walgreens and the CareFirst Plaintiffs is in its early stages. See, e.g., Dkt. 372, at 2-3. This Motion
seeks relief only against the initial 28 Plaintiffs, reserving all rights as to the CareFirst Plaintiffs.


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as U&C their cash retail prices charged to customers paying out-of-pocket without insurance or

any other intermediary program—and not prices available only to members of programs like PSC.

        A.      Insurers Produce Under 18,000 Documents, Declare Substantial Completion.

        Before receiving a single discovery request, Plaintiffs claimed they could find, review, and

produce relevant documents in only seven months; they criticized Walgreens for suggesting a

longer timeline. Feb. 3, 2021 Hr’g Tr., Dkt. 193 at 6:20-7:22. Plaintiffs protested that Walgreens

had already “gathered the relevant facts” in other, related litigation, id. 7:10-22, but Plaintiffs

ignored that the same was not true in reverse. Plaintiffs had never before identified custodians or

collected and produced responsive documents in a U&C-related case against Walgreens.

        The parties commenced discovery by serving Rule 26 initial disclosures on March 19,

2021. See Dkt. 129. Although Plaintiffs’ allegations covered “many millions of transactions”

across a 15-year period, the 28 Plaintiffs, divided into 13 Plaintiff groups,4 identified in their initial

disclosures just 22 individuals likely to have discoverable and responsive information—fewer than

one knowledgeable individual on average per Plaintiff and fewer than two per Plaintiff group. See

Exhibit 1 to Decl. of Charles D. Zagnoli (“Ex.”). Plaintiffs then agreed to provide documents from

fewer than two custodians per Plaintiff group.5 See Ex. 4.

        Walgreens served its first requests for production on May 14, 2021, Ex. 5, but Plaintiffs

failed to make any serious document production for nearly 18 months. By the end of 2021,


4
  Plaintiffs divided themselves into 13 groups for discovery and represented that, because of their business
structures, the members of each group would have identical responses and productions. Some of those
groups include a single Plaintiff (e.g., Blue Cross and Blue Shield of Alabama); other groups include several
Plaintiffs (e.g., the “Cambia Plaintiffs,” comprising Cambia Health Solutions Inc.; Regence BlueShield of
Idaho, Inc.; Regence BlueCross and BlueShield of Oregon; Regence BlueCross and BlueShield of Utah;
Regence BlueShield; and Asuris Northwest Health). See Ex. 1. Walgreens reserves the right to challenge
these groupings and their overlapping nature should discovery contradict Plaintiffs’ representations.
5
 Walgreens, by contrast, named in its initial disclosures over 30 former and current employees with
knowledge about the suit’s underlying facts and initially agreed to produce materials from 13 custodians.
Exs. 2, 3.


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Plaintiffs collectively had produced just 81 documents (and no internal emails) compared to

Walgreens’ 44,361. Ex. 8. In 2022, Plaintiffs’ productions continued to lag. Having produced no

additional documents in January and February 2022, Plaintiffs promised on March 16, 2022, to

produce “thousands of additional pages” in March and April 2022, “followed by additional rolling

productions . . . on a consistent basis.” Ex. 9. Yet, between March 22 and August 2, 2022, Plaintiffs

made just 5 productions totaling 3,685 documents, which included just over 1,200 emails. See Ex.

8. In contrast, by August 2, 2022, Walgreens had produced 149,949 documents and 840,461 pages.

Id. Walgreens questioned the growing disparity, Ex. 10 at 2, but Plaintiffs dismissed Walgreens’

concerns. Plaintiffs implied that their self-described discerning review weeded out irrelevant

documents: “It is simply not our practice to ‘data-dump’ or serve massive amounts of

nonresponsive documents for mere appearances.” Ex. 11 at 1.

       Plaintiffs made their largest production (before their recent frantic production of CVS

documents in November and December 2022) on August 2, 2022. See Ex. 8. But even that

production included only 13,551 documents. Plaintiffs produced 78 more documents on August

10, 2022, bringing their grand total to 17,395—621 documents, on average, per Plaintiff and 1,338

documents per Plaintiff group. See id. With that, Plaintiffs reported to Walgreens and the Court on

August 22, 2022, that their production was “substantially complete.” Dkt. 317 at 2.

       The paucity of Plaintiffs’ production was suspicious: 28 leading health insurers, each with

major contractual relationships (including with intermediary pharmacy benefit managers and other

pharmacies), are alleging widespread fraud affecting millions of prescription reimbursements over

a 15-year period. Yet, a purportedly fulsome review resulted in just 17,395 responsive documents.

As concerning to Walgreens was Plaintiffs’ disclosure that the materials were culled from around

3 million documents, using agreed search terms and technology aided review (“TAR”). Dkt. 317




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at 2-3. Plaintiffs dismissed the troubling statistics as smoke, not fire—waiving off Walgreens’

questions in a report to the Court as mere “‘concerns’ . . . based solely on the number of documents

and pages produced.” Id. There was nothing more to it, Plaintiffs assured the Court: “Defendants

have not—because they cannot—point to a single deficiency in [Plaintiffs’] document production

beyond just general ‘concerns.’” Dkt. 334 at 4. At the same time, Plaintiffs urged the Court to

hurry the case along, seeking to close fact discovery no later than December 27, 2022. In Plaintiffs’

words: “Defendants’ ‘concerns’ with . . . Plaintiffs’ document productions . . . do not provide

support for additional delay of the case schedule.” Dkt. 334 at 4. The Court recognized, however,

that “it [was] not at all realistic to think that [fact] discovery would be completed by December

27,” and it granted a six-month extension. Sept. 15 Hr’g, Dkt. 353 at 21:10-22.

        B.      Plaintiffs Refuse to Produce the CVS Materials, then Impose Restrictions.

        In contrast to their purportedly “substantially complete” production of just 17,395

documents in this case, a subset of the same Plaintiffs had produced ten times as many documents

to CVS in nearly identical litigation (the “CVS Production” and the “CVS Litigation”).6

        Refusing to defend against Plaintiffs’ fraud claims with an obviously deficient discovery

record, Walgreens continued to insist that Plaintiffs comply with their obligations under the

Federal Rules. First, just eight days after Plaintiffs’ August 2 production, Walgreens issued an

interrogatory to test whether Plaintiffs had contributed to their de minimis production by omitting

knowledgeable individuals from their initial disclosures and custodian list. See Ex. 12 at 9. After

asking for a month-long extension to respond, Plaintiffs identified on October 17, 2022, 49 new,



6
 Eight of the 13 Plaintiff groups are Plaintiffs both in this case and the CVS Litigation, Case No. 1:20-cv-
00236-WES-PAS (D.R.I.): Blue Cross and Blue Shield of Alabama; Florida Blue (which includes 2
Plaintiffs); Horizon Healthcare (2 Plaintiffs); HealthNow (3 Plaintiffs); Blue Cross and Blue Shield of
Kansas City; Blue Cross and Blue Shield of Minnesota (2 Plaintiffs); Blue Cross and Blue Shield of North
Carolina; and Blue Cross Blue Shield of North Dakota.


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never-before disclosed individuals with past or present managerial or leadership responsibility for

Plaintiffs’ pharmacy- or pharmacy benefit management–related functions. See Ex. 13 at Exhibit A

(comparing Plaintiffs’ October 17, 2022, interrogatory responses to initial disclosures and

custodians). On October 25, 2022, Walgreens requested documents from those newly disclosed

individuals (an average of fewer than four new custodians per Plaintiff group), see id., but Plaintiffs

initially agreed to produce documents from just 8 of the 49, along with 5 more custodians who

Plaintiffs, without explanation, had only “themselves identified . . . recently.” See Ex. 14 at 1-2.

       Second, Walgreens urgently reiterated its request for the CVS Production—a request

Walgreens first issued on May 2021, but that Plaintiffs had repeatedly ignored. See Ex. 5 at 28

(requesting “All Documents related to the U&C Litigation”); see also Ex. 10 at 2-3. Finally, on

August 29, 2022, Plaintiffs agreed to respond—but only in part. See Ex. 15. Rather than provide

the entire CVS Production, Plaintiffs refused to produce documents from any non-“overlapping”

CVS Litigation custodians whom Plaintiffs had not also designated in this case. See id. The reason

for their refusal, Plaintiffs asserted, was to avoid flooding Walgreens with irrelevant and

nonresponsive documents from custodians who “presumably [ ] have knowledge that [is] specific

to CVS issues.” Sept. 15, 2022 Hr’g, Dkt. 353 at 9:19-24 (emphasis added); see also Ex. 16 at 4.

       But Plaintiffs also refused to give Walgreens the basic information that it needed to test

that assertion. In fact, when Plaintiffs finally provided the names of the non-overlapping custodians

whose documents they intended to withhold, Plaintiffs dismissively suggested that Walgreens

review the custodians’ “public LinkedIn profiles” to find out more about their roles. Ex. 16 at 3-4.

Those profiles included only the high-level, generalized descriptions that some (but not all, see id.

at 3) of the non-overlapping custodians chose to provide on social media about their own roles and

responsibilities; they lacked the detailed information that Plaintiffs themselves were required to




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October 17, 2022, interrogatory responses; (3) certify that Plaintiffs produced all known

responsive or otherwise relevant documents, regardless of whether they fell within the parties’

agreed set of custodians, search parameters, and terms; and (4) provide a log of non-privileged

documents collected from agreed custodians that hit on key Walgreens- and PSC-related terms but

Plaintiffs withheld. See id. The parties met at Walgreens’ urging on November 23. See Ex. 23.

       During that conference and in a follow-up December 1, 2022, letter, Plaintiffs admitted to

somehow missing each of the sample “hot documents” provided by Walgreens. Although the

documents apparently existed within the full 3-million-document data set from which Plaintiffs

pulled their 18,000-document production, Plaintiffs had not reviewed the hot documents at all.

Plaintiffs’ explanation left much to be desired: the TAR model that Plaintiffs employed to aid

human review in scoring and prioritizing documents for responsiveness inexplicably assigned

multiple case-critical documents such a low score (per Plaintiffs’ own chosen standard) that no

attorney ever saw them. See Ex. 24. Plaintiffs flatly refused to provide meaningful details—

initially asserting that their entire TAR process, including metrics and methodology, was protected

attorney work product—or to agree to Walgreens’ requests for other assurances. See id.

       Giving Plaintiffs every opportunity to address their failures, Walgreens requested yet

another follow-up meeting—now involving the parties’ e-discovery experts, including Walgreens’

counsel’s Global Head of E-Discovery, Discovery Strategies & Data Analytics. Ex. 25 at 1.

Plaintiffs again refused (on work-product grounds) to provide crucial data about their TAR

model’s performance as of the date Plaintiffs declared substantial completion, including the cutoff

score, the responsiveness rate for the highest score band just below the cutoff, and the validation

sample results. Nor would Plaintiffs reveal how they adjusted their model going forward, stating

only that the example hot documents now clear the bar—as if backing into a set of criteria




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sufficient to identify a few blatantly relevant documents can satisfy Plaintiffs’ obligations.

        Plaintiffs’ December 16, 2022, follow-up letter also raised more questions than it answered.

Plaintiffs conceded that, after Walgreens exposed their discovery failures, Plaintiffs reduced their

TAR cutoff score from             “out of an abundance of caution.” Ex. 26 at 1. Critically, however,

Plaintiffs did not explain why or how their model initially scored case-critical and clearly relevant

documents so low. See id. Plaintiffs not only failed to explain how they built their model, failed to

provide data on the responsiveness rate for the score bands just below the cutoff, and failed to

provide relevant validation sample results, they also failed to answer Walgreens’ request for the

number of times the model had been refreshed before they declared substantial completion.7 See

id. Nor would Plaintiffs explain what steps they are taking to “recalibrate” and “stabilize” their

model. Id. Instead, Plaintiffs merely assured Walgreens that the two example key documents “are

now well above the initial relevancy cut-off score.” Id. And although Plaintiffs agreed to provide

the remainder of the CVS Production, add two new custodians, and produce more responsive

documents, Plaintiffs did not estimate how much longer Walgreens must wait for a production

Plaintiffs declared substantially complete on August 22, 2022. See id.; Ex. 24.

        Plaintiffs’ production from the CVS case and their recalibration of search criteria to hit on

a few obviously responsive key documents is insufficient—even if it is more responsive than what

Plaintiffs did before. That is particularly true for the five Plaintiff groups that are not parties to the

CVS Litigation and produced nothing there. Walgreens needs meaningful, reasonably complete

discovery in this case, and it needs Plaintiffs’ documents immediately to prepare for oral discovery.




7
  Plaintiffs disclosed that they are using a Continuous Active Learning (“CAL”) TAR model. As human
reviewers code documents as relevant or non-relevant, CAL models should continually refresh and update.
But CAL models sometimes stall and do not refresh, whether by way of the review platform or human error.
Walgreens asked how often Plaintiffs’ CAL model had actually refreshed. Plaintiffs refused to respond.


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                                          ARGUMENT

         Walgreens respectfully requests that the Court (1) order Plaintiffs to make reasonable

disclosures and representations ensuring that Plaintiffs have met or will soon meet their document

discovery obligations, including by providing details about their TAR process, and (2) order

Plaintiffs to produce responsive materials from 20 custodians whom Plaintiffs identified for the

first time on October 17, 2022, as likely to possess relevant information.

I.       Plaintiffs Should Be Compelled to Provide Assurances that They Have Corrected
         Their Previous Discovery Errors and Will Produce All Responsive Documents

         Since November 4, Plaintiffs have purported to remedy their discovery mistakes by

producing 157,437 new documents. See Ex. 8. While Plaintiffs’ productions come far too late for

Walgreens to complete depositions before fact discovery closes, they also fail to address Plaintiffs’

errors. Supplying more documents, standing alone, offers no proof that Plaintiffs have fixed the

glaring inadequacies of their approach to identifying and producing written discovery.

         Courts recognize TAR methodology as sound and more efficient than a linear review of

search-terms hits, see, e.g., Progressive Cas. Ins. Co. v. Delaney, 2014 WL 3563467, at *8 (D.

Nev. July 18, 2014) (collecting citations); Moore v. Publicis Groupe, 287 F.R.D. 182, 190-91

(S.D.N.Y. 2012) (same), but only when the TAR user properly trains and applies the model. Thus,

when parties use TAR, transparency is crucial to “allow[] the opposing counsel (and the Court) to

be more comfortable with computer-assisted review.” Moore, 287 F.R.D. at 192 & n.14; see also

Progressive, 2014 WL 3563467, at *10 (TAR requires “an unprecedented degree of transparency

and cooperation among counsel”); Livingston v. Chicago, 2020 WL 5253848, at *3 (N.D. Ill. Sept.

3, 2020) (approving TAR methodology because of “sufficient information to make the production

transparent”). When document productions suggest that a party has not properly trained and

applied its model, courts direct parties to provide “discovery about discovery,” just as they would



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if a party using keyword searches and linear review made an obviously deficient production. See,

e.g., Beef Products, Inc. v. Hesse, 2019 WL 6841362, at *8-9 (D.S.D. Dec. 16, 2019) (producing

party’s files ordered forensically examined because of anomalous, unreliable, and incomplete

production); Ruiz-Bueno v. Scott, 2013 WL 6055402, at *1-4 (S.D. Ohio Nov. 15, 2013) (collecting

cases); see also Winfield v. City of New York, 2017 WL 5664852, at *9-11 (S.D.N.Y. Nov. 27,

2017) (requiring in camera inspection of documents addressing predictive coding, training, and

validation processes; finding “human error in categorizing a small subset of documents,” not

anything “inherently defective” in TAR process itself).

       Mindful of the foregoing considerations, the parties agreed in their ESI Protocol that, if

one party alleges a discovery violation, the responding party must share details about its TAR

methodology. See Dkt. 140 at 3. Walgreens has asked Plaintiffs to follow this provision, but

Plaintiffs have refused—instead providing only elementary information that raises more questions.

See Part D, supra. Walgreens now respectfully asks the Court to compel Plaintiffs to provide, in

three ways, the transparency the ESI Protocol and case law demands.

       First, the Court should compel Plaintiffs to supply data on their TAR model’s performance

now and on August 22, 2022, the date that Plaintiffs declared substantial completion—including

the responsiveness rate for the highest score band just below the cutoff, validation sample results

(a QC review of a sample of low-scoring, unreviewed documents), and the number of times the

model had been refreshed, as well as how those metrics changed after November 4.

       Plaintiffs inaccurately assert that those metrics are protected work product and are

unnecessary now that Walgreens knows the TAR model’s cutoff score. Responsiveness rates and

the results of a validation sample, however, are discoverable, see, e.g., Rio Tinto PLC v. Vale S.A.,

306 F.R.D. 125, 128-29 (S.D.N.Y. 2015) (statistics to validate TAR process discoverable), just as




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they would be if the parties had not used TAR. See Ruiz-Bueno, 2013 WL 6055402, at *1-4. That

data (and not just the cutoff threshold Plaintiffs eventually disclosed) is also crucial to ensuring

Plaintiffs meet (and have met) their discovery obligations. For example, a producing party can

artificially limit its production while maintaining a facially acceptable cutoff score by coding for

responsiveness too narrowly. The producing party might then conceal its too-narrow coding by

disclosing QC and statistical metrics (typical TAR disclosures) that make the producing party’s

model seem appropriately trained. Responsiveness rates and validation sample results would

reveal the producing party’s misguided approach and would explain how and why very clearly key

documents fell below a unilaterally determined threshold and avoided human review entirely.

       Second, the Court should compel Plaintiffs to certify that they are not knowingly

withholding responsive documents merely because those documents fall outside the parties’

collection parameters. Plaintiffs’ refusal to provide such a certification is troubling, particularly

given their refusal to provide the transparency Walgreens needs to check their work.

       Third, the Court should compel Plaintiffs to supply a log of documents that hit on the key

terms specifically identified in Walgreens’ Motion, but that Plaintiffs have withheld from

production. Courts have ordered similar relief in analogous cases, see Progressive, 2014 WL

3563467, at *11-12 (party that refused to use TAR cooperatively and transparently required to

produce all non-privileged search-term hits), and it is necessary here because Plaintiffs’ model has

“deemed irrelevant . . . ‘hot,’ ‘smoking gun’ documents.” Moore, 287 F.R.D. at 189.

II.    Documents from 20 Custodians Whom Plaintiffs Identified for the First Time in Their
       October 17, 2022, Interrogatory Responses Should be Produced

       Given Plaintiffs’ meager production, Walgreens asked Plaintiffs on August 10, 2022, to

identify the names, job responsibilities, and dates of employment of other individuals with

potentially relevant information. In their October 17, 2022, Interrogatory Responses, Plaintiffs



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disclosed 49 entirely new potential custodians, but provided no information about the custodians’

roles. See, e.g., Exs. 6, 7. After conducting its own LinkedIn research, Walgreens offered to de-

prioritize some custodians (while continuing to request custodians who covered temporal and

subject-matter gaps), and Plaintiffs conceded to the production of documents from others.

Plaintiffs have adamantly refused to produce documents from the remaining 20.8

        These individuals almost certainly possess additional relevant documents. Their titles

include “Contract Administrator”; others hold executive-level positions at OmedaRx, a Plaintiff-

owned third-party defendant, in addition to their employment with the Plaintiff insurers; and

Plaintiffs themselves named each of the custodians in response to Walgreens’ interrogatory, which

asked for information about current and former Blue Cross employees in relevant roles. Plaintiffs

bore the burden of explaining why the employees Plaintiffs themselves identified as

knowledgeable should not be added as custodians. See Cary v. N.E. Ill. Reg’l Commuter R.R.

Corp., 2021 WL 678872, at *2, *4 (N.D. Ill. Feb. 22, 2021) (respondent must “provide sufficient

information” about custodians so adversary “will be able to negotiate intelligently”). Plaintiffs

have articulated no basis other than “duplication,” which is not supported based on Plaintiffs’

previous productions. See Ex. 27. Given the extreme discovery deficiencies documented above,

fewer custodians and documents is not the answer here. Plaintiffs should not be permitted to limit

discovery based on a bare assertion that additional effort would be duplicative.

                                           CONCLUSION

        For the reasons above, Defendants respectfully request that the Court grant their Motion.




8
 Of the 25 disputed custodians in the prioritized list Walgreens sent on December 5, 2022, see Ex. 25 at
Exhibit B, Plaintiffs agreed to produce documents from 2 custodians and purport to have already agreed to
produce documents from 2 others (despite no documentation of that supposed agreement). Based on
Plaintiffs’ representations, Walgreens agrees that Plaintiffs need not produce documents from Young Fried.


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Dated: December 21, 2022              Respectfully submitted,




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                                    Certificate of Service

       I, Charles D. Zagnoli, hereby certify that the foregoing document was electronically filed

on December 21, 2022, and will be served electronically via the Court’s ECF Notice system upon

all registered counsel of record.



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